                           UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF TENNESSEE
                                NORTHERN DIVISION

 SECURITY NATIONAL INSURANCE                           )
 COMPANY,                                              )
                Plaintiff,                             )
                                                       )
        v.                                             )     No. 3:12-CV-582
                                                       )     Judge Varlan
 HOME FEDERAL BANK, CREATIVE                           )     Magistrate Judge Guyton
 CONCEPTS AND DEVELOPMENT, LLC, and                    )
 BANCINSURE, INC. ,                                    )
                                                       )
                       Defendants.                     )

                               STIPULATION OF DISMISSAL

        The claims giving rise to this matter having been amicably resolved among the parties to

 this matter who have appeared, to wit: Plaintiff SECURITY NATIONAL INSURANCE

 COMPANY, Defendant HOME FEDERAL BANK, and Defendant BANCINSURE, INC. (the

 “Appearing Parties”), pursuant to Fed. R. Civ. P. 41(a)(1)(A)(ii) the Appearing Parties hereby

 Stipulate and Agree that this matter be Dismissed with Prejudice.


 Plaintiff: Security National Insurance Co.          Home Federal Bank


 By: /s/ William R. Meyer                            By: /s/ M. Edward Owens, Jr.
 William R. Meyer (BPR No. 18130)                    M. Edward Owens, Jr. (BPR No. 007159)
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 BancInsure, Inc.


 By: /s/ Matthew J. DeVries
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                                 CERTIFICATE OF SERVICE

         I hereby certify that on April 11, 2013, a copy of the foregoing was filed electronically.
 Notice of this filing will be sent by operation of the Court’s electronic filing system. All other
 parties will be served by regular U.S. Mail. Parties may access this filing through the Court’s
 electronic filing system.


                                               /s/ William R. Meyer
                                              William R. Meyer




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